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AO 440 (Rev. 06/12) Summons in a Civil Action

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

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LONDIAV-JONES- \
Plaintiff(s)

v. Civil Action No. 5:23-cv-00045

ADVANCED CAPITAL SOLUTIONS, INC.

 

Defendant(s}

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ADVANCED CAPITAL SOLUTIONS, INC.
clo REGISTERED AGENT
CORPORATION SERVICE COMPANY
50 WEST BROAD STREET, SUITE 1330
COLUMBUS, OH 43215

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Nathan C. Volheim, Esq.

Sulaiman Law Group, Ltd
2500 S Highland Ave, Suite 200
Lombard, IL 60148

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH,
CLERK OF COURT

Date: 1/10/2023

 

ARORA Beatrice

Signature of Clerk or r Deputy ‘Clerk

 
Case: 5:23-cv-00045-SL Doc #: 5 Filed: 01/17/23 2 of 2. PagelD #: 33
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Civil Action No. 5:23-cv-00045

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and titie, if any) # eo ven cook ta p: +, Sl. aan, s Inc.
was received by me on (date) te). 23 =

© | personally served the summons on the individual at (place)

On fdate; . OF

 

CI left the summons at the individual’s residence or usual place of abode with fname,

- a person of suitable age and discretion who resides there,

 

ON (date) - and mailed ¢ a copy to the individual's last known address: or

mT served the summons On frame of individual) MeKe 2: é Hactmonr , who 1s

designated by law to accept service of process on behalf of (meme of organization)

a adie I Camspion y,

Fegisttocd agent Sur Advanced Capital Sobtring lac Dida)  FI2-23

[1 | returned the summons unexecuted because 3 or

 

[7 Other (specify:

My fees are $ for travel and $ for services, for a total of $ 0.00

1 declare under penalty of perjury that this information is

  

Date: tel E68.

 

fe — PT
CL Server's signature

Ror Freemen ; Preoctes Sener

Printed name and title

 

“Soren? s address

Additional information regarding attempted service, etc:

 
